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Ashton Zylstra

From:                           Cary Hansel
Sent:                           Monday, December 23, 2019 2:12 PM
To:                             Ashton Zylstra
Subject:                        FW: Hulbert v. Pope




From: Cary Hansel
Sent: Wednesday, November 13, 2019 12:30 PM
To: John Fredrickson -DGS- <john.fredrickson@maryland.gov>; Robert McFarland -DGS-
<robert.mcfarland@maryland.gov>
Subject: Re: Hulbert v. Pope

Gentlemen, I look forward to our call tomorrow to discuss everything in my email below.

If you have documents to produce or dates to suggest today, that would allow our call to be more streamlined
and focused.

Best regards,

Cary


-------- Original message --------
From: Cary Hansel <Cary@hansellaw.com>
Date: 11/8/19 2:42 PM (GMT-05:00)
To: John Fredrickson -DGS- <john.fredrickson@maryland.gov>, Robert McFarland -DGS-
<robert.mcfarland@maryland.gov>
Subject: Hulbert v. Pope


Gentlemen, thank you for taking the time to meet with me regarding discovery for over an hour and a half
earlier today.



I am writing to summarize our discussion and the agreements reached.



First, you provided me with the name of the caller from the mansion, who was Trooper Cpl. Ryan Bitters. We
agreed that he would be made available for a deposition. I gave you November 21 (pm), Nov. 22 and Dec. 4
and 5 as potential deposition dates, all of which were available for defense counsel who intended to appear. We
agreed that you would check these dates with Cpl. Bitter and get back to me on or before Thursday of next week
to finalize plans for the deposition.

                                                                                      Exhibit D
                                                        1
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We also agreed that, on or before Thursday of next week, you would give me an idea of what Cpl. Bitter was
going to say so that we could discuss an appropriate discovery extension on Thursday. I understand that you
will agree to an extension of discovery, with the only remaining issue being the length of the extension.



We also agreed to discuss extending the dispositive motions deadline on Thursday to reflect whatever extension
of discovery was agreed upon at that time.



As for the open subpoena to the State, I went through it with you and highlighted the relevant deficiencies. You
let me know that you had additional documents to produce, but that they were being reviewed for privilege. I
look forward to receiving them. You mentioned that you hope to get them to me by Thursday of next week. I
will not file a motion regarding these documents until after Thursday to give you a chance to produce them at
that time.



You also mentioned that you needed to follow up internally to check and see if there were any further
documents.



Despite the breadth of the subpoena, I understand that to date, you have limited your search to the individuals
listed in Chief Wilson’s initial e-mail production. I object to this as insufficient and we agreed to attempt the
following resolution:



The State will search for e-mails sent or received by anyone using State e-mail addresses from February 5, 2018
to March 5, 2018 (inclusive) which mention any of the following terms: Hulbert, Hulberts, Hulbert’s, Patriot
Picket, Patriot Picketer, Patriot Picketers, and/or Lawyer’s Mall. Without waiving any rights or limiting the
subpoena in any way, I did agree that this would be a reasonable next step, after which we made need to seek
further responsive information.



I invited you to let me know, by Thursday, whether the approach outlined above carried with it any unforeseen
technical difficulties and, if so, to raise them during our call on Thursday so that they can be resolved.



I agreed to forbear from filing any further discovery motions until after our discussion on Thursday, but I
explained that I believe that I am compelled to file one shortly thereafter if these issues are not resolved on
Thursday.



I let you know that I am available from 9 am to 10 pm and from 2 pm until at least 7 pm on Thursday on by
direct mobile number: 301-526-4749. I look forward to your call.
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Please let me know if I have not accurately reflected our conversation and agreements above.



Best regards,



Cary



CARY J. HANSEL

HANSEL LAW, PC

2514 NORTH CHARLES STREET

BALTIMORE, MARYLAND 21218

DIRECT DIAL: 301-461-1040

FACSIMILE:            443-451-8606

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